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            EXHIBIT 5
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1                    UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                          SAN FRANCISCO DIVISION
4     -----------------------------x
5     MAXIMILIAN KLEIN, et al., on         :
6     behalf of themselves and all         :
7     others similarly situated,           :    Case No.
8                          Plaintiffs,     :    3:20-cv-08570-JD
9        v.                                :
10    META PLATFORMS, INC., a              :
11    Delaware corporation                 :
12    headquartered in California,         :
13                         Defendant.      :
14    -----------------------------x
15
16                 Videotaped Virtual Deposition of
17                            KEVIN KREITZMAN
18                         Monday, October 2, 2023
19                             9:08 a.m. CST
20
21
22   Job No.:     509154
23   Pages:     1 - 255
24   Reported Stenographically by:
25   Tiffany M. Pietrzyk, CSR RPR CRR
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                        Transcript of Kevin Kreitzman
                        Conducted on October 2, 2023                 2

1            Videotaped virtual deposition of KEVIN
2    KREITZMAN, pursuant to notice, before Tiffany M.
3    Pietrzyk, a Certified Shorthand Reporter in the
4    States of Illinois, Texas, and California,
5    Registered Professional Reporter, Certified Realtime
6    Reporter, and a Notary Public in and for the State
7    of Illinois.
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                          Transcript of Kevin Kreitzman
                          Conducted on October 2, 2023               3

1                    A P P E A R A N C E S
2    ON BEHALF OF THE ADVERTISER PLAINTIFFS and
3    PUTATIVE CLASS:
4         AMANDA LAWRENCE, ESQUIRE
5         BRIAN DUNNE, ESQUIRE
6         SCOTT+SCOTT
7         156 South Main Street
8         P.O. Box 192
9         Colchester, Connecticut 06415
10        860.531.2645
11
12   ON BEHALF OF THE DEFENDANT:
13        SONAL MEHTA, ESQUIRE
14        ANDREW WAKS, ESQUIRE
15        WILMER CUTLER PICKERING HALE & DORR, LLP
16        2600 El Camino Real
17        Suite 400
18        Palo Alto, California 94306
19        650.858.6000
20
21   ALSO PRESENT:
22        Wei Zhao
23        Ilona Mostipan
24        Michelle Mejia, Planet Depos Remote Tech
25        Micah Hardin, Planet Depos Videographer


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